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         EXHIBIT 1
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                                                                                            US010626088B2

 (12) United     States Patent                                         ( 10 ) Patent No.: US 10,626,088 B2
      Schiehser et al.                                                 (45 ) Date of Patent:   Apr. 21, 2020
 (54 ) DETERMINING DEGRADATION OF                                 (58 ) Field of Classification Search
       3,4 -DIAMINOPYRIDINE                                             None
                                                                        See application file for complete search history.
 (71) Applicant: Jacobus Pharmaceutical Company,
                 Inc., Princeton , NJ (US )                       (56 )                      References Cited
 (72) Inventors: Guy Alan Schiehser, Washington                                 FOREIGN PATENT DOCUMENTS
                 Crossing , PA (US ); Rajendra Shah ,
                 Edison , NJ (US); Wenyi Zhao, Monroe             GB                    1 115 607       5/1968              CO7D 31/42
                    Township , NJ (US)
 (73 ) Assignee: JACOBUS PHARMACEUTICAL                                                 OTHER PUBLICATIONS
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 ( * ) Notice :    Subject to any disclaimer, the term of this    theses , spectroscopic properties , and applications” , Journal of Het
                   patent is extended or adjusted under 35         erocyclic Chemistry, 2007, 44 (3 ), 679-684 .
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                                                                   of Hetarenium -Activitate-Pentachloropyridine with Bisnucleophiles” ,
 ( 21) Appl. No .: 15 /695,043                                     Synthesis, 2006 , 2006 ( 23 ), 3987-3996 .
                                                                  Glusker et al., Crystal, Structure Analysis : A Primer, 2d . ed . Oxford
 ( 22 ) Filed : Sep. 5 , 2017                                     Univ. Press , New York ( 1985 ), p . 87.
                                                                  International Tables for Crystallography, vol. C , Kluwer Academic
 (65 )             Prior Publication Data                         Publishers : Dordrecht, The Netherlands, 1992 , Tables 4.2.6.8 and
                                                                  6.1.1.4 .
       US 2018/0086710 A1 Mar. 29 , 2018                                                  (Continued )
              Related U.S. Application Data                       Primary Examiner — Xiaoyun R Xu
 (62 ) Division of application No. 15 / 179,060, filed on Jun .   (74) Attorney, Agent, or Firm - BakerHostetler
      10 , 2016 , now Pat. No. 9,783,497.
                                                                  (57)                   ABSTRACT
 (51) Int. Ci.                                                     The present invention relates to methods of determining the
      CO7D 213/73             ( 2006.01 )                         purity of a sample of 3,4 -diaminopyridine comprising deter
      CO7D 401/04            ( 2006.01)                           mining the presence, absence, or amount of a dimer of
      GOIN 30/74
       GOIN 30/88
                              (2006.01)                           3,4 -diaminopyridine or a dimer of 3,4 -diaminopyridine in
                           ( 2006.01)                             the form of a salt , solvate or complex or a combination
       GOIN 30/02          (2006.01)                              thereof. The invention also relates to methods of detecting
 (52) U.S. CI.                                                    and quantitating degradation in a sample of 3,4 -diamin
      ???        C07D 213/73 (2013.01); CO7D 401/04               opyridine. Dimers of 3,4 -diaminopyridine and methods of
               (2013.01); GOIN 30/74 ( 2013.01); GOIN             making and isolating the same are also provided .
                    2030/027 (2013.01 ); GOIN 2030/884
                 ( 2013.01) ; GOIN 2030/8872 ( 2013.01)                        7 Claims, 14 Drawing Sheets
                                      1                     -K




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                                      FIG . 1
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                                                                    [FU : 401374 CXHID )
                                                                                       40



                                            FIG . 2
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  fornula                                                    CuH20NOS
  formula weight                                              364.39
  space group                                                Pbca (No. 61)
  a. A                                                       10.4259 ( 4 )
  b, Å                                                        16.7836 (9 )
                                                              19.2638 ( 7 )
   V Å                                                        3370.9 ( 3)
  Z                                                           8
  deale, gem                                                 1.436
  crystal dimensions, mm                                     0.25 x 0.15 x 0.08
  temperature , K                                            295
  radiation (wavelength , Å )                                Cu K.(1.54178)
  monochromator                                               confocal optics
  linear abs coef,mm7 ]                                      2.097
  absorption correction applied                               empiricala
  transmission factors: min ,max                             0.057 , 0.846
  diffractometer                                             Rigaku RAPID - II
  h , k , 1 tange                                            -12 to 12 -20 to 20 -21 to 21
  20 range, deg                                               4.59-144.57
  mosaicity , deg                                            0.31
  programs used                                              SHELXTL
  F000                                                        1536.0
  data collected                                              13873
  unique data                                                2838
  Rint                                                       0.043
  data used in refinement                                     2838
  cutoff used in R - factor calculations                      F.2> 2.00 (F . )
  data with P2.00 ( 1)                                       2355
  refined extinction coef                                    0.0020
  number of variables                                        264
  largest shift'esd in final cycle                           0.00
  R ( FO )                                                   0.0565
  R ( F.?)                                                   0.1596
  goodness of fit                                            1.053


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                                                 FIG . 3
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                                                           H
                                                           -




                                                                                                       4
                                                                                                       .
                                                                                                       FIG

        rAareby50%paentoibsateirmnlopstdyc
                                       te.hl irpsmoailds
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                                                .




                                      FIG . 5
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                                      FIG . 6
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                                       FIG . 7
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                                       FIG . 8
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         Atom                                   V                      z            UA
         S (1)        0.07445 ( 6 )     0.34690 ( 4 )            0.05398 ( 4 )    0.0422 ( 2 )
                     -0.0209 ( 2 )      0.32110 ( 14 )           0.00191 (12 )    0.0631 ( 7 )
         0 (2 )       0.1693( 2 )        0.39681( 17 )           0.01711 (12 )    0.0724 ( 8 )
                     0.1380 ( 3 )        0.27913 ( 18)           0.08209 ( 16 )   0.0998 ( 12 )
         O (4)       0.0122 ( 3 )       0.39586 ( 17)            0.10536 ( 15 )   0.0841(9 )
                     0.3811 ( 3 )       0.05878 (19)             0.08027 ( 15 )   0.0769 ( 9 )
           (31)      0.4994 (3 )         0.38206 ( 19 )          0.25240 (15 )    0.0866 (10)
                     0.3461( 2 )         0.02104 ( 13 )          0.37831( 12 )    0.0438 ( 6 )
         N ( 13 )    0.2985 ( 3 )       -0.17305 ( 17 )          0.45989 ( 18 )   0.0604 ( 8 )
         N ( 14 )    0.5629 ( 3 )       -0.15431( 19 )           0.46769 (18 )    0.0576 (9 )
         N ( 21 )    0.1916 ( 3 )        0.12410 ( 16 )          0.37679 ( 16 )   0.0518 ( 8 )
         N ( 23 )    0.3737 ( 3 )        0.04038 ( 18 )          0.23296 (17 )    0.0616 ( 9 )
         N ( 24 )    0.2346 ( 3 )        0.16142( 18 )           0.16798 ( 15 )   0.0604 ( 9 )
         C (12 )      0.2871( 2 )       -0.04525 ( 16 )          0.40460 (14 )    0.0427 ( 7 )
         C ( 13 )    0,3553 (2 )        -0.10458 ( 16 )          0.43628 ( 14 )   0.0418 ( 7 )
         C ( 14 )    0.4919 ( 3 )       -0.09693 ( 17 )          0.44024 ( 15 )   0.0437 ( 8 )
         C ( 15 )    0.5472 ( 3 )       -0.02609 ( 18 )          0.41580 ( 16 )   0.0496 ( 8 )
                     0.4748( 3 )         0.03071 ( 18 )          0.38506 ( 15 )   0.0479 (8 )
         C (22 )     0.2743 ( 3 )       0.07855 ( 16 )           0.33970 (15)     0.0444 ( 8 )
         C (23 )     0.2920 ( 3 )       0.08705 ( 15 )           0.26948 ( 15 )   0.0431( 8 )
         C ( 24 )     0.2213 (3 )       0.14971(16 )             0.23615( 16 )    0.0473 ( 8 )
         C (25 )      0.1388 ( 3 )      0.19553 ( 18 )           0.27673 ( 19 )   0.0560 ( 9 )
         C (26 )      0.1246 ( 3 )      0.18161( 19 )            0.34538 (18 )    0.0584 ( 9 )
         C (31)       0,3709 (5 )       0,3625 ( 3 )             0.2393 ( 3 )     0.0977( 17)
         H (21)      0.187 ( 4 )        0.116 ( 2 )              0.417 ( 2 )      0.065 (12) *
         H ( 131 )   0.220 (5 )         -0.168 ( 3 )             0.462 ( 2 )      0.090 ( 15 ) *
         H (132 )     0.349( 5 )        -0.203 (3 )              0.507( 2 )       0.107 ( 15 ) *
         H ( 141)     0.643 (4 )        -0.147 ( 2 )             0.467 ( 2 )      0.068 (11)*
         H ( 142 )   0.533 ( 4 )        - (0.194 ( 3 )           0.478 ( 2 )      0.076 ( 14 ) *
                     0.384 (6 )         0.008 ( 4 )              0.070 ( 3 )      0.14 ( 2 ) *
         HIW2)       0.42005 )          0.083 ( 3 )              0.053 ( 3 )      0.101( 19 )*
         H ( 231)     0.385 ( 4 )       0.046 ( 3 )              0.185 ( 3 )      0.089 ( 13 ) *
         H (232 )     0.404 ( 4 )       0.006 ( 2 )              0.251( 2 )       0,067 ( 12 ) *
         H ( 241)    0.189 ( 4 )        0.199 ( 2 )              0.152 ( 2 )      0.077 (12 ) *
         H ( 242 )   0.279 ( 4 )        0.128 ( 2 )              0.136 ( 2 )      0.070 ( 11) *
         H ( 12 )                       -0.050                   0.401            0.051
         H ( 15 )     0.635             -0.018                   0.421            0.060
         H ( 16 )     0.514              0.077                   0.368            0.058
         H ( 25 )     0,093              0.237                   0.256            0.067
         H ( 26 )     01.068            0.212                    0.371            0.070
         H (31)                         0.388                    0.294            0.130
         H (ZIA )     0.341             0.325                    0.274            0.147
         H31B )       0.364              0.339                   0.194            0.147
         H (310 )     0.319                                      0.241            0.147

         Starred atomswere refined isotropically
                               *    *

         Veg = ( 1/3)L ;L ; Unja a jaj.aj
         Hydrogen atomsare included in calculation of structure factors but not refined
                                                     FIG . 9
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  Naine                                 U12.2               U ( 3.3 )                                               U ( 2,3)
                   1 :0379 ( 4 )       0.0442 ( 4 )       0.0446 (5 )        0.0067( 3 )         0.0004 ( 2 )      0.0002 ( 3 )
                   0.0516 ( 12)       0.0629( 13 )        0.0749 (16)       -{).0088 ( 10 )     -{].0128 ( 1 )     0.0000 ( 2 )
   0 (2 )          0.0581(13 )        0.10636 ( 19 )      0.0526 ( 14 )      -0.0339(13)        -0.0039(11)        0.0062 ( 13)
                   0,1293)            0.0794 ( 18 )       0.091 ( 2 )         0.0486 (18)       -0.0230 ( 18 )      0.0148 (16 )
                   0.0758 ( 17 )       0.0967( 19 )       0.0799 (18)        0.0243 ( 3.5 ) .    0.014 ) ( 14 )    -{ . 0262( 15 )
   O ( 1W )        0 ;110 ( 2 )       0.0587 (15 )        0.0620 (17)        -0.0012 (15 )       0.0281(15)         0.0010 ( 14 )
   0 (3 )          0.096 ( 2 )        0.0896 ( 19 )       0.0742 (19)       -0.0257 ( 16 )       {).0015 (15 )     0.0002 (17 )
   N ( 11 )        0.0420( 12 )       0.0473 ( 12 )       0.0420 ( 14 )                         -0.0001 ( 9 )      0.0065 ( 10 )
   N ( 13 )                            0.0524 ( 15 )      0.088 ( 2 )       -().0015( 12 )      0.0048 (13)        0.0161 ( 14 )
   N ( 14 )        0.0408 (15 )                           0.076 ( 2 )        0.0020 (13)        -0.0063 ( 13 )     0.0124 ( 14 )
   N (21)          0.0547 ( 15 )       0.0582 ( 15 )      0.0424 (17)        0.0064 ( 12 )       0.0030 ( 11)      0.0008 ( 12 )
   N (23 )         0.083 ( 2 )         0.0575 (10 )       0.0443 (19)        0.0257 (15 )        0.0088 ( 14)      0.0087 ( 14 )
   N ( 24 )        0.080( 2 )          0.0529 ( 16 )      0.0484 ( 18 )      0.0158 ( 14 )      -0.0008 (14 )      0.0121( 13 )
   C ( 12 )        0.0354 (13 )        0.044(14 )         0.0483 (17)       -0.0038 ( 11)        0.0019 (11)       0.0021 (12 )
   C (13)                              0.0432 ( 14 )      0.0432(10)         0.0003(11)         0.0017 ( 11)       0.0011(12)
                   0,0405 (15 )                           0.0412 ( 16 )      0.0003 (11)        -0.0015 ( 11)      0.0010 ( 12 )
   C (15 )         0.0383(14 )                            0.0499( 18)       -{].0054 (12 )      - (). 0049( 12 )   0.0070 ( 15 )
   C ( 16 )        0.0432 (14 )        0.0531( 16 )       0.0475 ( 17 )     -0.0105 (12)        -13:0014 ( 12 )    0.0054 (13 )
   C (22)          0,0452 (15)                            0.0461( 17)        0.0026 ( 11)        0.0008 (12)       0.0029 (12)
   C (23 )         0.0483 ( 15 )      0.0378( 13)         0.0433( 17)        0.0016 ( 11)        0.001 | ( 12)     0.0029 (11)
   C ( 24 )        0.0520 ( 16 )      0.0384 (13 )        0.0516 ( 19 )     -0.0002 ( 12 )      -0.0010 (13 )      0.0033 (12 )
   C (25)          00606 (18 )        0.0445 ( 15 )       0.063 (2 )         0.0107 (13)        -{},0029 ( 15 )    0.0034 (14 )
   C ( 26 )                           0.0547 (17 )        0.061 (2 )         0.0133(15)          0.0042 ( 15)      -0.0025 ( 15 )
                   0.084 ( 3 )         0.1093)            0.100 ( 4 )       -0.018 ( 3 )        -0.003 ( 3 )        0.002 ( 3 )
   The form of the anisotropic teinperature factor is:
  exp (-27h 3U11) ***b ** U (2.2 ) + 1*0*2 ( 3,3) * 2hka *b *U (1,2 ) + 2hlac"U ( 1.3) + Zklb *c* U (2,3 )}
  where a*, b , and c * are reciprocal lattice constants.
                                                          FIG . 10
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           Atom 1     Atom 2     Distance                 Atom 1 Atoin 2         Distance
            S (1 )    0 (3 )    1.423 ( 3 )               N (21) C (22 )         1.356 ( 4 )
           S ( 1)               1.441( 2 )                N (21)     H (21)      0.80 ( 4 )
           S (1)                1.477( 2 )                N (23)     C (23)      1.354 ( 4 )
           S ( 1)     0 (2 )    1.478 ( 2 )               N (23)     H ( 231)    0.93 (5 )
            O{ } }    H { } Wi) 0.8747)                   N (23 )    H (232 )    0.74 ( 4 )
           O (1W ) H (IW2) 0.78 (5 )                      N (24 )    C (24 )      1.335 (4 )
           0 (31)     C (31)     1.402 (5 )               N ( 24 )   H (241)     0.86 (4 )
           N ( 11)    C ( 16 )   1.358 (4 )               N ( 24 )   H ( 242 )   0.95 (4 )
           N ( 11)    C ( 12 )   1.368 (3 )               C ( 12 )   C ( 13 )     1.367( 4 )
           N (11)     C (22) 1.430 ( 3 )                  C (13 )    C ( 14 )     1.432 ( 4 )
           N (13)     C ( 13 ) 1.370 ( 4 )                C ( 14 )   C ( 15 )     1.403 ( 4 )
           N ( 13 )   H ( 131) 0.82( 5 )                  C ( 15 )   C (16 )     1.352 (4 )
           N (13 )    H ( 132) 1.16 ( 5 )                 C (22 )    C (23 )     1.373(4 )
           N ( 14 )   C ( 14 ) 1.325 (4 )                 C (23)     C (24 )      1.436 ( 4 )
           N ( 14 )   H ( 141) 0.85 (4 )                  C ( 24 )   C (25 )     1.394 (4 )
           N ( 14 )   H (142 ) 0.76 (4 )                  C (25 )    C ( 26 )    1.351 (5 )
           N (21)     C ( 26 ) 1.337 ( 4 )
    Numbers in parentheses are estimated standard deviations in the least significant digits.
                                              FIG . 11
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       Aton ) Aton 2         Atoin 3                            Atoni l Atoni 2        Atom 3       Angle
       0 (3)      S( )                   113.82 ( 19 )          C ( 24 )    N ( 24 )   H ( 242)    127 ( 2 )
       003 )      S (1)      0 ( 1)      109.71( 17 )           H (241) N ( 24 )       H ( 242)    118 (4 )
       014 )      S( )       O ( 1)      109.31( 15 )           C (13 )     C ( 12 )   N (I )      121.6 (2 )
       0 (3 )     S (1)      0 (2)       108.94 ( 19 )          C ( 12 )    C ( 13 )   N ( 13)     122.3 ( 3 )
                  S (1 )     0 (2 )      107.95 ( 17 )           C ( 12 )   C (13)      C ( 14 )   118.4 ( 2 )
                  S (1 )     0 (2 )      106.86 ( 13 )          N ( 13 )    C (13)      C ( 14 )   119.1 ( 3 )
      HIWI) O ( 1W )         H1W2)       109 (5 )               N ( 14 )    C ( 14 )    C ( 15 )   121.3 ( 3 )
       C ( 16 ) N ( 1 )      C ( 12 )    120.4 ( 2 )            N ( 14 )    C ( 14 )    C (13 )    120.8 ( 3 )
       C ( 16 ) NU )         C ( 22 )    119.1 (2 )             C ( 15 )    C ( 14 )   C (13 )     117.8 ( 2 )
       C ( 12 ) N ( 11 )     C (22 )     120.4 ( 2 )            C ( 16 )    C (15 )    C ( 14 )    121.0 ( 3 )
       C (13 ) N ( 13)       H ( 131)    111( 3 )               C ( 15 )    C ( 16 )   N ( 11)     120.6 (3 )
                N ( 13 )     H ( 132 )   115 (2 )               N (21)      C (22 )     C ( 23 )   123.1 (3 )
      H ( 131 ) N ( 13 )     H ( 132 )   117 ( 4 )              N (21)      C (22)     N (11)      116.1 (2 )
                N ( 14 )     H ( 141)    117 (3 )               C (23)      C ( 22 )   N ( 11)     120.8 (2 )
                             H (142 )    120 ( 3 )              N (23)      C (23)      C (22 )    122.4 ( 3 )
                             H ( 142 )   123 ( 4 )              N ( 23 )    C ( 23 )    C ( 24 )   120.9 ( 3 )
       C ( 26 )   N (21)     C ( 22 )    120.1 (3 )             C ( 22 )    C (23 )     C ( 24 )   116.6 ( 3 )
       C ( 26 )   N (21)     H (21)      122 ( 3 )              N ( 24 )    C ( 24 )    C (25 )    122.3 ( 3 )
       C (22 )    N (21 )    H (21)      118( 3 )               N (24 )     C ( 24 )    C (23 )    119.6 ( 3 )
       C ( 23 )   N ( 23 )   H ( 231)    122 ( 3 )              C (25 )     C ( 24 )    C (23 )    118.0 ( 3 )
       C ( 23 )   N (23 )    H (232 )    11963 )                C ( 26 )    C (25)      C (24 )    121.4 ( 3 )
       H (231)    N (23 )    H (232 )    118 ( 4 )              N (21)      C ( 26 )    C (25 )    120.7 (3 )
       C (24 )    N (24 )    H ( 241)    114 ( 3 )
       Numbers in parentheses are estimated standard deviations in the least significant digits.
                                                     FIG . 12
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                                                            D-H               A-H                 D A          D -H - A
   O (31)                                                0.819 ( 3 )        1.939 ( 3 )         2 : 753( 5 )   172 ( 2 )
   N ( 13)           H ( 131)          0 ( 1)             0.82 ( 5 )        2.2005 )            2.988( 4 )     161(4 )
   N ( 13 )          H ( 132 )         S ( 1)             1.1615 )          2.70 ( 5 )          3.682 ( 3 )    141( 3 )
   N (13 )           HA32 )            0 (3 )             1.16 ( 5 )        1.94 ( 5 )          3.025( 4 )     154 ( 4 )
   N ( 14 )                            S ( O)            0.85 ( 4 )         2.97( 4 )           3.804 (3 )     167 (3 )
   N ( 14 )                            0 (2 )            0.85 (4 )          2.11(4 )            2.935( 4 )     165 ( 4 )
   N ( 14 )                                              0.76 (4 )          2.19 (5 )           2.909( 4 )     158 ( 4 )
   N (23)            H (231)           O( W)             0.93 (5 )          2.04 ( 5 )          2.9595)
   N (23 )           H (232 )          0 (31)                               2.31 (4 )           2.9824)        1514 )
   N ( 24 )          H (241)           0 (3)             0.86 ( 4 )         1.97 ( 4 )          2.767 ( 4 )    155 ( 4 )
   N ( 24 )          H ( 242)          O (1W )           0.95 (4 )          1.91( 4 )           2.856( 4 )     174 (3 )
   O( W)                                                 0.87 ( 7 )         2.76 ( 8 )          3.622 ( 3 )    170 (6 )
   O ( 1W )          HOWD)             0 (2 )            0.87 ( 7 )         2.2017 )            3.024 ( 4 )    158 (6 )
   O (IW )                             0 (4)              0.87 (7 )         2.28 ( 7 )          2.991( 4 )     139 (6 )
   O (IW )           HOW2)                                0.78 (5 )         2.87 ( 5 )          3.641( 3 )     173 ( 5 )
   O (1W )           HOW2)                               0.78 ( 5 )         2.02( 0 )          2.759( 4 )      198 ( 5 )
   N (21)                              S ( 1)            0.80 (4 )          2.95 ( 4 )          3.658 (3 )     150 ( 3)
   N (21)            H (21 )           0 (2 )            0.80 (4 )          1.94 ( 4 )         2.73644 )       176 (4 )


   Numbers io parentheses are estimated standard deviations in the least significant digits.


                                                        FIG . 13
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   Atoni 1               Atom 2              Atom 3            Atoin 4                 Angle
   C ( 16 )              N ( II)              C ( 12 )           C ( 13 )          -2.07 (0.40 )
   C (22 )               N ( 11)              C ( 12 )           C ( 13 )         174,07 (0.25)
   C ( 12 )                                   C ( 16 )           C ( 15 )          2.16 (0.42)
   C (22)                 N (II)              C ( 16 )           C ( 15 )        -174.03 (0.27)
   C ( 12 )               N (11)              C (22 )            N (21).          71.59 ( 0.34 )
   C ( 12 )                                   C (22 )            C (23)          -109.76 (0.32 )
   C ( 16 )                                   C ( 22 )           N (21)           -112.22 (0.31)
   C ( 16 )               N (11)              C (22 )            C (23 )           66.43 (0.36 )
   C ( 26 )               N (21)              C (22 )            N (11)           177.18 (0.27)
   C ( 26 )               N (21)              C (22 )            C (23)            -1.43 ( 0.47 )
   C ( 22 )               N (21)              C ( 26 )           C (25 )           -0.46 (0.48 )
   N (11 )                C (12)              C ( 13 )           N (13 )          -176.79 (0.27 )
                          C (12)              C ( 13 )           C ( 14 )          -1.35 ( 0.40 )
   N (13 )                C ( 13 )            C ( 14 )           N ( 14 )          -1.46 (0.45 )
   N ( 13 )               C (13)              C (14 )            C ( 15 )        -179.87 (0.30 )
   C (12 )                C ( 13 )            C ( 14 )           N ( 14 )        -177.05 (0.29 )
   C (12 )                C ( 13 )            C ( 14 )           C ( 15 )          4.54 (0.40 )
                          C ( 14 )            C ( 15 )           C ( 16 )         177.05 (0.31)
   C (13)                 C ( 14 )            C (15 )            C ( 16 )         -4.56 (0.44 )
   C ( 14 )               C ( 15 )            C ( 16 )           N (11)             1.24 (0.45)
   N ( 11)                C (22 )             C (23)             N (23)             2.36 (0.45)
   N (II )                C (22 )             C (23 )            C ( 24 )        -176.23 (0.25 )
   N (21)                 C (22 )             C (23 )            N (23)          -179.09 (0.30 )
   N (21)                 C (22 )             C (23 )            C (24 )           2.32 (0.44 )
   N (23 )                C (23)              C (24 )            N (24)             1:08 ( 0.45)
   N (23)                 C (23)              C (24 )            C (25 )          179.98 (0.39 )
   C ( 22 )               C (23)              C (24 )           N (24 )           179.69 (0.29)
   C (22 )                C (23 )             C ( 24 )           C ( 25 )         -1.40 (0.41)
   N (24 )                C ( 24 )            C (25)             C ( 26 )         178.54 (0.31)
   C (23 )                C (24 )             C (25)             C ( 26 )          -0.33 ( 0.46 )
   C (24)                 C (25 )             C ( 26 )           N (21 )            131 (0.49)
  Numbers in parentheses are estimated standard deviations in the least significant digits.
                                              FIG . 14
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                                                      US 10,626,088 B2
                                 1                                                          2
           DETERMINING DEGRADATION OF                                      BRIEF DESCRIPTION OF THE DRAWINGS
                  3,4 -DIAMINOPYRIDINE
                                                                       The summary, as well as the following detailed descrip
             CROSS -REFERENCE TO RELATED                            tion , is further understood when read in conjunction with the
                       APPLICATIONS                               5 appended drawings. For the purpose of illustrating the
                                                                    disclosed compositions and methods, there are shown in the
     This application is a divisional of U.S. application Ser.       drawings exemplary embodiments of the compositions and
 No. 15 / 179,060 , filed on Jun . 10 , 2016 , the disclosure of methods; however, the compositions and methods are not
 which is hereby incorporated by reference as if set forth in 10 limited to the specific embodiments disclosed . In the draw
 its entirety herein .                                           ings:
                                                                       FIG . 1 illustrates structural variations of a dimer of
                FIELD OF THE INVENTION                         3,4 -diaminopyridine .
     This disclosure relates to the field of pharmaceutical 15 3,4FIG
                                                                   -
                                                                      . 2 illustrates the calculated X -ray powder pattern of
                                                                    diaminopyridine        dimer sulfate monohydrate
  impurity detection and quantitation .                              monomethanolate .
           BACKGROUND OF THE INVENTION                                 FIG . 3 summarizes crystal data and crystallographic data
                                                                     collection parameters,
      Impurities, either synthetic or degradative, found in drug       FIG . 4 illustrates the atomic displacement ellipsoid of
  products or drug dosage forms have been associated with 20 3,4 -diaminopyridine dimer sulfate monohydrate
  adverse effects including increased toxicity , decreased effi monomethanolate .
  cacy of the active drug, and other undesirable side effects .     FIG . 5 is a packing diagram of 3,4 -diaminopyridine dimer
  Such impurities, once ident          are reduced to the lowest sulfate monohydrate monomethanolate viewed along the a
  possible levels to lessen the risk of adverse events. 3,4      crystallographic axis .
  Diaminopyridine is a central nervous system drug used in 25 FIG . 6 is a packing diagram of 3,4 -diaminopyridine dimer
  the treatment of Lambert/Eaton Myasthenic Syndrome sulfate monohydrate monomethanolate viewed along the b
  (LEMS) and other rare muscle diseases. A great need exists crystallographic axis.
   for the ability to ascertain whether amounts of 3,4 - diamin     FIG . 7 is a packing diagram of 3,4 -diaminopyridine dimer
  opyridine have degraded . It is greatly desired to be able to sulfate monohydrate monomethanolate viewed along the c
  quantitate the amount of degradation present in a 3,4- 30 crystallographic axis.
  diaminopyridine sample . There also exists a need for highly FIG . 8 illustrates the hydrogen bonding environment
  sensitive means of detecting impurities in a sample of surrounding the 3,4 -diaminopyridine dimer .
  3,4-diaminopyridine, determining the purity of a sample of   FIG . 9 illustrates the positional parameters and their
  3,4 -diaminopyridine , and quantitating the amount of impu estimated standard deviations of 3,4 -diaminopyridine dimer
  rities present in a 3,4 -diaminopyridine sample .               35 sulfate monohydrate monomethanolate .
                                                                        FIG . 10 illustrates the anisotropic displacement factor
              SUMMARY OF THE INVENTION                               coefficients of 3,4 - diaminopyridine dimer sulfate monohy
                                                                     drate monomethanolate .
     Disclosed herein are methods for ascertaining whether a         FIG . 11 illustrates the bond distances of 3,4 -diaminopyri
   quantity of 3,4 -diaminopyridine has undergone significant 40 dine dimer sulfate monohydrate monomethanolate .
  degradation as well as ways for quantifying such degrada           FIG . 12 illustrates the bond angles of 3,4 -diaminopyridine
  tion .                                                           dimer sulfate monohydrate monomethanolate .
     Methods for determining the purity of a sample of 3,4           FIG . 13 illustrates the hydrogen bonds and angles of
  diaminopyridine comprising determining the presence , 3,4 -diaminopyridine dimer sulfate monohydrate
  absence , or amount of a dimer of 3,4 -diaminopyridine in the 45 monomethanolate.
  form of a salt , solvate or complex or a combination thereof       FIG . 14 illustrates the torsion angles of 3,4 -diaminopyri
  are also included in the present disclosure.                     dine dimer sulfate monohydrate monomethanolate .
    Methods are also provided for detecting and quantitating
  degradation in a sample of a of 3,4 -diaminopyridine com       DETAILED DESCRIPTION OF ILLUSTRATIVE
  prising subjecting the sample to high performance liquid 50                    EMBODIMENTS
  chromatography to identify the presence or absence of a
  peak identified as a dimer of 3,4 -diaminopyridine ; subject  The disclosed compositions and methods may be under
  ing a standard comprising a known amount of the dimer of stood more readily by reference to the following detailed
  3,4 -diaminopyrdine or a derivative thereof to high perfor description taken in connection with the accompanying
 mance liquid chromatography; and comparing the amount of 55 figures, which form a part of this disclosure. It is to be
  the dimer of 3,4 -diaminopyridine in the sample to the         understood that the disclosed compositions and methods are
  amount of the dimer of 3,4 -diaminopyridine in the standard ,  not limited to the specific compositions and methods
  each as identified by high performance liquid chromatogra      described and/ or shown herein , and that the terminology
  phy.                                                           used herein is for the purpose of describing particular
     Compositions directed to 3,4 -diaminopyridine dimer sul- 60 embodiments by way of example only and is not intended to
  fate monohydrate monomethanolate are also disclosed .          be limiting of the claimed compositions and methods.
    Methods are also set forth for producing 3,4 -diaminopyri      Unless specifically stated otherwise , any description as to
  dine dimer sulfate monohydrate monomethanolate compris         a possible mechanism or mode of action or reason for
  ing dissolving 3,4 - dimaminopyridine; oxidizing the dis       improvement is meant to be illustrative only , and the dis
  solved 3,4 - diaminopyridine; and isolating 3,4- 65 closed compositions and methods are not to be constrained
  diaminopyridine        dimer       sulfate     monohydrate         by the correctness or incorrectness of any such suggested
 monomethanolate .                                                  mechanism or mode of action or reason for improvement.
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                                3                                                                   4
     Throughout this text, the descriptions refer to composi            Wehave determined that degradation of 3,4 -diaminopyri
 tions and methods of using said compositions. Where the dine can be evidenced by the presence of a dimer of
 disclosure describes or claims a feature or embodiment 3,4 -diaminopyridine or a dimer having certain salt, solvate
 associated with a composition , such a feature or embodi or alcoholate derivatives . Ascertaining the presence or
 ment   is equally applicable to the methods of using said 5 absence ofthesuchpresence dimersorinabsence
                                                                                                   samplesofofdegradation
                                                                                                                3,4 -diaminopyridine
 composition . Likewise , where the disclosure describes or indicates                                                      .
 claims a feature or embodiment associated with a method of monohydrate monomethanolate as a novel compoundsulfate
                                                                      We    have  identified   3,4 -diaminopyridine    dimer
                                                                                                                                 that
 using a composition, such a feature or embodiment is can be used to assess the presence of degradation in a sample
 equally applicable to the composition .                         10 of 3,4 -diaminopyridine . Although two 3,4 - diaminopyridine
    When a range of values is expressed , another embodiment molecules are covalently linked to form the 3,4 -diamin
 includes from the one particular value and /or to the other opyridine dimer, the dimer is not symmetrical . For example ,
 particular value. Further , reference to values stated in ranges in some embodiments the dimer has the following structure ,
  include each and every value within that range. All ranges and tautomers thereof:
 are inclusive and combinable . When values are expressed as 15
 approximations, by use of the antecedent “ about," it will be
                                                                                NH2
 understood that the particular value forms another embodi
 ment. Reference to a particular numerical value includes at                          NH2
 least that particular value, unless the context clearly dictates
  otherwise .                                              20
                                                                                                  NH2
     The term " about” when used in reference to numerical
  ranges, cutoffs, or specific values is used to indicate that the          +

  recited values may vary by up to as much as 10 % from the               H
                                                                                           NH2
  listed value. As many of the numerical values used herein
  are experimentally determined , it should be understood by 25
  those skilled in the art that such determinations can , and       In alternative embodiments the dimer has the following
  often times will, vary among different experiments. The structure , and tautomers thereof:
  values used herein should not be considered unduly limiting
  by virtue of this inherent variation . Thus, the term “ about”
  is used to encompass variations of 10 % or less, variations 30          NH2
  of + 5 % or less, variations of + 1 % or less, variations of                    NH2
  + 0.5 % or less , or variations of + 0.1 % or less from the
  specified value.
     It is to be appreciated that certain features of the disclosed               +         NH2
  compositions and methods which are, for clarity, described 35
  herein in the context of separate embodiments, may also be
 provided in combination in a single embodiment. Con                                     NH2
 versely, various features of the disclosed compositions and
 methods that are, for brevity , described in the context of a
 single embodiment, may also be provided separately or in 40 tureIn: other embodiments, the dimer has the following struc
 any subcombination .
    As used herein , the singular forms “ a ,” “ an ,” and “ the ”
 include the plural.                                                    NH2
    Various terms relating to aspects of the description are
 used throughout the specification and claims. Such termsare 45                NH2
  to be given their ordinary meaning in the art unless other
  wise indicated . Other specifically defined terms are to be                                     NH2
  construed in a manner consistent with the definitions pro
  vided herein .
     Pharmaceutical compositions degrade over time and the 50                                 NH
  resulting degradation products can signify that the active
  ingredient is no longer capable of eliciting the desired
  therapeutic effect. In some instances , degradation products       The structures represented above illustrate different pH
  can cause adverse events for those taking the medication . dependent forms of dimers of 3,4 -diaminopyridine . FIG . 1
   Therefore , assessing dosage forms of a pharmaceutical for 55 further depicts the effect of pH on the dimer by illustrating
  the presence of impurities and degradation products is different charge configurations in changing pH environ
  necessary for proper quality control.                           ments . In environments where counterions are present, the
     This invention relates generally to the identification of a above shown compounds can form quaternary salts. For
  degradation product of 3,4 -diaminopyridine . This invention example , sulfate counterions produce a sulfate quaternary
  also  relates to methods of synthesizing the degradation 60 salt of the dimer. Thus, it is possible to expose the dimer
  product of 3,4 -diaminopyridine, as well as methods of present in a sample of 3,4 -diaminopyridine to an environ
  analyzing a sample of 3,4 -diaminopyridine for the presence ment that yields a readily identifiable form of the dimer,
  of a degradation product. The invention also relates to using which can serve as an indicator of degradation of 3,4
  a synthesized degradation product as a reference marker for diaminopyridine. In some embodiments, the sample can be
  use in detecting and quantifying the amount of a degradation 65 a pharmaceutical dosage form of 3,4 diaminopyridine.
  product in a sample of 3,4 - diaminopyridine, or a pharma          Some embodiments of the invention provide a 3,4 -di
  ceutically acceptable salt thereof.                             aminopyridine dimer in the form of a salt , solvate , or
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                               5                                                                  6
  complex or a combination thereof. In some embodiments of comprises fractionating the sample by high performance
  the invention , the salt comprises a sulfate . Those skilled in liquid chromatography (HPLC ). HPLC , also referred to as
  the art will recognize that the counterion for these quater high pressure liquid chromatography , can be used to frac
  nary salts are not limited to sulfate salts, and other salt forms tionate a sample and detect the distinct fractions. HPLC
  of the dimer can be identified through routine experimen- 5 analysis typically comprises injecting a sample onto a col
  tation . In some embodiments of the present invention , the umn and then eluting distinct fractions containing the
  dimer is in the form of a solvate . In some aspects , the solvate sample components over time. The eluted fractions are
  comprises a monomethanolate . Those skilled in the art will detected , usually by ultraviolet absorption , and a chromato
  recognize that the solvate form of the dimer can comprise gram is generated to graphically represent the relative elu
  other compounds than monomethanolate and other solvate 10 tion times. Compounds present in the sample being analyzed
 forms of the dimer can be identified with routine experi with HPLC can have different retention times, thus allowing
 mentation . For example, the solvate form can comprise other identification of an active pharmaceutical ingredient (API),
 alcoholates .                                                degradation products of the API, or other impurities present
    The dimer , in some embodiments , is in the form of a in the dosage or bulk form of the drug . The area under the
 complex . In some embodiments, the complex comprises a 15 retention peaks of the chromatogram can be measured to
 monohydrate. In some aspects , the complex involves a determine a concentration or amount of a compound present
 compound or molecule capable of binding or otherwise in a sample .
 interacting with the dimer. Themolecule in some embodi          In one aspectof the present invention , when fractionating
 ments is water. Those skilled in the art will know that other a degraded sample of 3,4 -diaminopyridine using HPLC , the
 compounds and molecules can be identified through routine 20 known retention time of the reference sample allows for
 experimentation that complex with the dimer. In some quantifying the amount of the dimer of 3,4 -diaminopyridine
 embodiments , the 3,4 -diaminopyridine dimer is in the form and relating the same to the amount of 3,4 -diamopyridine in
 of a salt , a solvate, and complex . In some aspects, the the sample . Comparing the area under the HPLC peak for
 3,4 -diaminopyridine dimer comprises at least one sulfate, at the known amount of the reference sample of the dimer to
 least one monohydrate, and at least one monomethanolate . 25 the area under the HPLC peak for the dimer present in a
  In some embodiments the 3,4 - diaminopyridine dimer is sample of 3,4 - diaminopyridine allows a determination
 3,4 -diaminopyridine dimer sulfate monohydrate regarding the purity of the sample . Ascertaining whether the
 monomethanolate. In some aspects the solvent, salt, and amount of dimer of 3,4 -diaminopyridine is greater than a
  complex ratio is about 1: 1 : 1, while in other embodiments the predetermined mole percentage of dimer of 3,4 -diamin
 ratio is about 1:1: 1.5 . Those skilled in the art will recognize 30 opyridine in the sample provides a standardized metric to
 that other ratios are possible and can be produced with assess sample purity . In some aspects, the methods of the
 routine experimentation .                                            present invention can be employed to determine if the purity
     In some aspects of the present invention , 3,4 -diaminopyri of a sample has degraded an extent such that the sample
 dine dimer sulfate monohydrate monomethanolate is an will not be suitable for therapeutic uses . In other aspects , the
 amorphous solid . While the 3,4 -diaminopyridine dimer can 35 methods can be used to monitor a bulk supply of 3,4
 be amorphous, crystalline forms, such as a sulfate salt diaminopyridine or to gauge remaining shelf life .
 crystalline form ofa 3,4 -diaminopyridine dimer , can also be           In some aspects of the present invention , the predeter
 produced . The X - Ray powder pattern of 3,4 -diaminopyri mined mole percentage of the degradation product is
  dine dimer sulfate monohydrate monomethanolate as shown between about 0.1 and about 1 mole percent. In some aspects
  in FIG . 2 depicts a crystal form of the dimer.                  40 the predetermined mole percentage is between about 0.1 and
     A 3,4 - diaminopyridine dimer can be in the form of an oil . about 0.9 mole percent. In some aspects of the present
 For example , a crude dimer can be produced by oxidizing a invention , the predetermined mole percentage is between
 dissolved sample of 3,4 -diaminopyridine. The crude dimer about 0.1 and about 0.8 mole percent. In some aspects of the
 can be distilled from the oxidation reaction by first mixing present invention , the predetermined mole percentage is
 the oxidation reaction with activated , basic aluminum oxide . 45 between about 0.1 and about 0.7 mole percent. In some
  After water is removed under reduced pressure , the residue aspects of the present invention , the predetermined mole
  is loaded onto an aluminum oxide column and eluted with          percentage is between about 0.1 and about 0.6 mole percent.
 acetonitrile /water. The resulting dimer will be in an oil form . In some aspects of the present invention , the predetermined
    Alternatively , the oil form of the crude dimer can be mole percentage is between about 0.1 and about 0.5 mole
 produced by mixing the oxidation reaction with silica gel. 50 percent. In some aspects of the present invention , the
 After removing water under pressure, the residue is loaded predetermined mole percentage is between about 0.1 and
 onto a silica gel column and eluted first with methanol/ about 0.4 mole percent. In some aspects of the present
 triethylamine and then methanol. A further elution with invention , the predetermined mole percentage is between
 methanol/ formic acid results in a crude dimer oil.               about 0.1 and about 0.3 mole percent. In still other aspects
    In another aspect of the present invention, a method is 55 of the present invention, the predetermined mole percent is
 provided of determining the purity of a sample of 3,4 about 0.1 and about 0.2 mole percent. In some aspects , the
 diaminopyridine comprising determining the presence , predetermined mole percent is less than 0.1mole percent. In
 absence , or amount of a dimer of 3,4 -diaminopyridine in the some aspects, the predetermined mole percent is less than
 form of a salt, solvate or complex or a combination thereof. 0.1 mole percent.
 In some embodiments, 3,4 -diaminopyridine dimer sulfate 60 In other aspects of the present invention , the predeter
 monohydrate monomethanolate is the dimer of 3,4 - diamin mined mole percentage is between about 0.2 and about 1
 opyridine.                                                        mole percent. In some aspects of the present invention , the
    Synthesized 3,4 -diaminopyridine dimer sulfate monohy predetermined mole percentage is between about 0.3 and
 drate monomethanolate is suitable for use as a reference about 1 mole percent. In some aspects of the present
 marker in a quantitative analysis when determining the 65 invention , the predetermined mole percentage is between
 amount dimer present in a sample . In some embodiments, about 0.4 and about 1 mole percent. In some aspects of the
 determining the amount of the dimer of 3,4 -diaminopyridine present invention , the predetermined mole percentage is
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                                    7                                                                        8
  between about 0.5 and about 1 mole percent. In some aspects                  Another aspect of the present invention provides a method
  of the present invention , the predetermined mole percentage of producing 3,4 -diaminopyridine dimer sulfate monohy
  is between about 0.6 and about 1 mole percent. In some drate monomethanolate comprising dissolving 3,4 -dimam
  aspects of the present invention , the predetermined mole inopyridine in a solvent; oxidizing the dissolved 3,4 -diamin
  percentage is between about 0.7 and about 1 mole percent. 5 opyridine; and isolating the 3,4 -diaminopyridine dimer
  In some aspects of the present invention , the predetermined
  mole percentage is between about 0.8 and about 1 mole sulfate              for
                                                                                        monohydrate monomethanolate . A suitable solvent
                                                                                  dissolving    3,4 -diaminopyridine is methanol or methanol
  percent. In some aspects of the present invention , the and water, however
  predetermined mole percentage is between about 0.9 and suitable solvents can other                           solvents may be employed and
                                                                                                        be readily identified by one skilled in
   about 1 mole
  invention   , saidpercent . In somemole
                     predetermined     embodiments
                                             percentageof istheabout
                                                                  present
                                                                      0.5 10 the  art. Once dissolved , an appropriate oxidant can oxidize
  mole percent, about 0.4 mole percent, about 0.3 mole 3,4 -diaminopyridine  the   dissolved 3,4 -diaminopyridine to generate the desired
  percent, about 0.2 mole percent, and even about 0.1 mole gen peroxide oxidizesdimer                      the
                                                                                                              . In some embodiments , hydro
                                                                                                                 dissolved 3,4 -diaminopyridine
  percent.
  of Another
       detectingaspect
                   and ofquantitating
                           the present degradation
                                        invention provides
                                                    in a samplea methodof 15 person can determine oxidantsbe suitable
                                                                             although     other  oxidants   can      employed . Again , a skilled
                                                                                                                             for use in producing
   3,4 -diaminopyridine comprising subjecting the sample to the dimer through routine experimentation .
  high performance liquid chromatography to identify the                         Another embodiment of the invention provides a method
  presence or absence of a peak identified as a dimer of of isolating 3,4 -diaminopyridine dimer sulfate monohydrate
   3,4 -diaminopyridine; subjecting a standard comprising a 20 monomethanolate comprising slurrying the 3,4 -diamin
  known amount of the dimer to high performance liquid opyridine dimer solution with aluminum oxide; evaporating
  chromatography ; and comparing the amount of the dimer of water from the slurry to form a dried material ; separating a
  3,4 -diaminopyridine in the sample to the amount of the
  dimer of 3,4 -diaminopyridine in the standard , each as iden dimer                   from the dried material using a separation technique;
  tified by high performance liquid chromatography . In some 25 treating the the
                                                                             dissolving            separated dimer in methanol and water;
                                                                                             dissolved    dimer with a methanolic solution of
   embodiments, the sample comprises a pharmaceutical dos concentrated sulfuric acid                         to form a product mixture; adding
  age form . A “ pharmaceutical dosage form ” refers to the form
  of the compound ingested or otherwise received by a patient. sulfate salt solvate complexmixture
                                                                             ethyl  acetate   to  the product
                                                                                                                  .
                                                                                                                        ; and isolating the dimer
                                                                                                                    Separating   a dimer can be
  Common oral pharmaceutical dosage forms include, but are
  not    limited to, powders, pills , and liquids. Pharmaceutical 30 accomplished              , for  example  ,  by  fractionating the oxidation
  dosage forms can be a mixture of the active ingredient with reaction by column chromatography.
  excipients , or nondrug components .
      In some aspects of the method , the dimer of 3,4 - diamin                                           EXAMPLES
  opyridine is a degradation product of 3,4 -diaminopyridine .
  In some aspects , the dimer of 3,4 -diaminopyridine is in the 35 The following examples are provided to further describe
  form of a salt , solvate, or complex or a combination thereof. some of the embodiments disclosed herein . The examples
  In some embodiments, the dimer of 3,4 -diaminopyridine is
  3,4 -diaminopyridine sulfate monohydrate monomethano ments                 are intended to illustrate, not to limit, the disclosed embodi
  late .                                                                             .
      Some embodiments of the present invention provide that 40
  the standard comprising a known amount of 3,4 -diamin                                                    Example 1
  opyridine differs in molecular weight from the 3,4 - diamin
  opyridine present in the sample. In some embodiments , the
  3,4-diaminopyridine standard comprises an isotopic substi                         Synthesis of 3,4 -Diaminopyridine Dimer Sulfate
   tution , and in some aspects the isotopic substitution is 45                               Monohydrate Monomethanolate
  deuterium , carbon -13 , or nitrogen - 15 . In other embodi
  ments, the 3,4 - diaminopyridine standard comprises a radio                   33 g of 3,4 -diaminopyridine was dissolved in 700 mL of
  label.
      Degradation of a sample can depend on a variety of water                       to form a slurry . 69.0 g of 30 % hydrogen peroxide was
  conditions including time, storage conditions, and exposure 50 reactiontowas
                                                                             added        the slurry to oxidize the 3,4 -diaminopyridine. The
                                                                                              carried out at room temperature and monitored
  to other environmental conditions. Improper storage tem
  perature and /or humidity, for example, can increase the rate produced     by thin layer chromatography . After onemonth , the reaction
  of degradation of an active pharmaceutical ingredient. Fur                               the highest concentration of 3,4 -diaminopyridine
  thermore, processing a stored or bulk form of a drug into a               dimer. 25 mL of the oxidation reaction mixture was then
  pharmaceutical dose form can result in a differentdegrada- 55 mixed
                                                                mixturewith
                                                                         was25distilled
                                                                                g of activated
                                                                                        under ,reduced
                                                                                                basic aluminum
                                                                                                       pressure oxide . The
                                                                                                                to remove
  tion rate for the active ingredient. It is therefore important to water. The resulting residue was loaded onto an aluminum
  determine the rates of degradation of a sample at multiple
  time points during the manufacturing process as well as oxide column . Fractions were eluted from the column using
  during storage of both bulk and pharmaceutical composition methanol/water (from 100 :0 to 5 :1 ). Desired fractions were
  of the drug to ensure a patient is receiving an adequate 60 distilled      under reduced pressure to yield 56 mg of dimer as
  amountof active ingredient and notmore than an acceptable a brown oil .
  level of degradation product. Thus, the present invention            The dimer was dissolved in a mixture of water and
  provides for more than one subsample being analyzed over methanol. 4.0 equivalents of concentrated sulfuric acid in
  time to determine a rate of degradation of the sample. In one methanol were added to the dissolved dimer. Ethyl acetate
  aspect of the invention , more than one sample of the dosage 65 was then added , and the solution was filtered through a
  form is analyzed over time to determine a rate ofdegradation syringe filter. The solution was incubated at room tempera
  of the dosage form .                                              ture overnight. The supernatant was decanted to yield less
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                                 9                                                                   10
  than 15 mg of the desired 3,4 -diaminopyrimidine dimer                                         Example 4
  sulfate monohydrate monomethanolate .
                                                                            Crystal Structure of 3,4 -Diaminopyridine Dimer
                           Example 2                               5
                                                                                Sulfate Monohydrate Monomethanolate
       Synthesis of 3,4 -Diaminopyridine Dimer Sulfate                    The structure of a sample of 3,4 -diaminopyridine dimer
              1.5 Monohydrate Monomethanolate                          was determined by single crystal X -ray diffraction .
                                                                         The orthorhombic cell parameters and calculated volume
                                                                       are: a = 10.4259 (4 ) Á , b = 16.7836 (9) Á, c = 19.2638 (7 ) Á
     150 mL of the oxidation reaction of Example 1 was mixed 10 a = B = y = 90 °), V = 3370.9 (3 ) Á3. The formula weight of the
  with 50 g of silica gel. The mixture was distilled under (asymmetric           unit in the crystal structure of 3,4 -diaminopyri
  reduced pressure to remove water. The residue was then dine dimer sulfate              monohydrate monomethanolate is 364.39
  loaded onto a silica gel column. Fractions were eluted from
  the column with methanol/triethylamine (20 :1 , 1000 mL ), g / cm². The space group wasin determined
                                                                  g /
                                                                    mol  with   Z = 8 , resulting   a calculated density of 1.436
                                                                                                                to be Pbca (no . 61).
  then methanol (900 mL). Further elution was carried out 15 A summary of the crystal data and crystallographic                  data
  with methanol/ formic acid ( 100 : 1, 900 mL ), and the desired collection parameters are provided in FIG . 3 .
  fractions were distilled under reduced pressure to yield
  3.323 g of a brown hazy oil . 2.9 g of the oil was dissolved by The     quality of the structure obtained is high , as indicated
                                                                      the fit residual, R of 0.0565 (5.65 % ). R - values in the
  in a mixture of 2.5 mL ofmethanol and 1.5 mL of water. This
  dimer solution was then added dropwise to a sulfuric acid 20 range of 0.02 to 0.06 are quoted for the most reliably
  solution , which was prepared by adding 1.447 g of 98 % determined structures (Glusker et al., Crystal Structure
  sulfuric acid ( 1.1 equivalents) into 15 mL of methanol. The Analysis: A Primer, 2d ed ., Oxford Univ . Press , New York
  resulting slurry was stir for 10 minutes, then filtered . The (1985 ), p . 87 ).
  filtrate was rinsed with methanol and suction dried to yield           An atomic displacement ellipsoid drawing of 3,4 -diamin
  1.211 g of 3,4 -diaminopyridine dimer sulfate 1.5 monohy- 25 opyridine dimer sulfate monohydrate monomethanolate is
  drate monomethanolate in a tan solid form .                          shown in FIG . 4. The molecule observed in the asymmetric
                                                                    unit of the single crystal structure is consistent with a dimer
                           Example 3                                of 3,4 - diaminopyridine . The asymmetric unit shown in FIG .
                                                                    4 contains one 3,4 -diaminopyridine dimer cation , one sulfate
                                                                 30 anion , one watermolecule, and one methanolmolecule. One
        Isocratic Reversed Phase HPLC Detection and                 hydrogen was located and refined independently on the
      Quantitation of 3,4 - Diaminopyridine Dimer Sulfate           pyridine nitrogen . The other positive charge shown in FIG .
                Monohydrate Monomethanolate                         4 is on the bridging pyridine nitrogen . However, the charge
                                                                    is delocalized over the diaminopyridine moiety .
                                                                       Packing diagrams viewed along the a, b , and c crystallo
     A stock reference standard was prepared by dissolving 43 35 graphic
 mg of 3,4 -diaminopyridine dimer sulfate monohydrate hydrogenaxes                    are shown in FIGS. 5-7 , respectively . The
                                                                                bonding    environment surrounding the 3,4 -diamin
 monomethanolate in 50 mL of final mobile phase . A 3,4 opyridine dimer is shown
 diaminopyridine stock reference standard was prepared by three dimensional hydrogenin FIG              . 8 , and results in a complex
                                                                                                     bond network .
 dissolving 25 mg of 3,4 -diaminopyridine in 50 mL of final 40
 mobile phase . The final concentrations of both standards opyridine   FIG . 2 shows a calculated XRPD pattern of 3,4 - diamin
 were 250 ug/mL . Resolution standards were prepared by generated from           dimer sulfate monohydrate monomethanolate ,
 diluting the stock reference standards to a final concentration                        the single crystal structure .
                                                                       FIGS   . 9-14
 of 5 ug /mL. Working standards were prepared by diluting mated standard deviations    depict positional parameters and their esti
 the stock reference standards to a final concentration of 1 45 coefficients, bond distances, ,anisotropic        displacement factor
                                                                                                     bond angles, hydrogen bonds
 ug/mL .                                                            and angles, and torsion angles of 3,4 -diaminopyridine dimer
    Samples to be analyzed were prepared by randomly sulfate                 monohydrate monomethanolate, respectively .
  selecting and weighing 20 3,4 - diaminopyridine tablets . The        A   yellow    plate of C HONOS [O , S , H2O , CHLO ,
 tablets were ground to a fine powder and about 50 mg of the           CH4N ) having approximate dimensions of 0.25x0.15 %
  powder was dissolved in 50 mL of final mobile phase. The 50 0.08 mm , was mounted on a nylon loop in random orien
  sample was sonicated for two minutes with occasional
  shaking . The sonicated sample was then mechanically            tation . Preliminary examination and data collection were
                                                                       performed with Cu Ka radiation (a = 1.54178 Å ) on a Rigaku
  shaken for an additional 30 minutes and filtered using a 0.45 Rapid II diffractometer equipped with confocal optics .
  um Microsolve filter .                                          Refinements were performed using SHELX2013 (Sheldrick ,
     Analytical separations were performed using 20 uL 55 G. M. Acta Cryst., 2008 , A64 , 112 ).
  injected onto a C18 column, a 1.0 mL /min flow rate ,              Cell constants and an orientation matrix for data collec
  detection at 254 nm , and a total run time of 60 minutes . tion were obtained from least -squares refinement using the
  Mobile phase A was prepared by dissolving about 1 g of setting angles of 13873 reflections in the range 4 ° < o <67º .
  octane sulfonic acid sodium salt and 2.31 g of ammonium          The refined mosaicity form DENZO /SCALEPACK (Otwin
  acetate in 1000 mL of purified water. pH was adjusted to 4.0 60 owski, Z .; Minor, W.Methods Enzymol. 1997 , 276 , 307 ) was
  (+0.05 ) with trifluoroacetic acid . Mobile Phase B consisted 0.31 ° indicating good crystal quality . The space group was
  of HPLC grade acetonitrile . The final mobile phase was determined by the program XPREP. From the systematic
  prepared by mixing 900 mL of Mobile Phase A and 100 mL presence of the following conditions: Ok1 k = 2n ; h01 1 = 2n ;
  ofMobile Phase B , the mixture being degassed . The reten hko h = 2n , and from subsequent least-squares refinement,the
  tion time for 3,4 -diaminopyridine was 14.5 minutes and 39.0 65 space group was determined to be Pbca (no . 61). The data
  minutes for 3,4-diaminopyridine dimer sulfate monohydrate            collected to a maximum diffraction angle (20 ) of 133.16 ° at
  monomethanolate .                                                    room temperature .
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                                11                                                                     12
    Frames were integrated with HKL3000 (Otwinowski, Z .;             Atomic Displacement Ellipsoid and Packing Diagrams
 Minor, W. Methods Enzymol. 1997 , 276 , 307 ). A total of            The atomic displacement ellipsoid diagram was prepared
  13873 reflections were collected , of which 2838 were            using Mercury. Atoms are represented by 50 % probability
  unique . Lorentz and polarization correctionswere applied to anisotropic thermal ellipsoids. Packing diagrams and addi
  the data. The linear absorption coefficient is 2.097 mm -1 for 5 tional figures were also generated with Mercury . Hydrogen
  Cu Ka radiation . An empirical absorption correction using bonding is represented as dashed lines.
 SCALEPACK was applied. Transmission coefficients                                                CONCLUSION
 ranged from 0.057 to 0.846 . A secondary extinction correc
 tion was applied (Glusker et al ., Crystal Structure Analysis:          The single crystal structure of a 3,4 - diaminopyridine
 A Primer, 2nd ed.; Oxford University press: New York , 10 dimer
 1985 ; p . 87 ). The final coefficient, refined in least squares , solvatedwassulfate determined to be a hydrated and methanol
                                                                                            salt of a 3,4 -diaminopyridine dimer. The
 was 0.0020 ( 3) ( in absolute units ). Intensities of equivalent crystal
 reflections were averaged . The agreement factor for the sulfate anion , oneiswater
                                                                                structure       composed of one dimer cation , one
                                                                                                    molecule, and one methanol mol
 averaging was 4.3 % based on intensity.
    Structure Solution and Refinement                              15 ecule in the asymmetric unit .
    The structure was solved by direct methods using changes             Those skilled in the art will appreciate that numerous
 SHELXT (Sheldrick , G. M. Acta Cryst., 2008 , A64, 112 ). embodiments           and modifications can be made to the preferred
  The remaining atoms were located in succeeding difference modifications can            of the invention and that such changes and
 Fourier syntheses. Hydrogen atoms that reside on nitrogen of the invention . Itbeismade              without departing from the spirit
 and oxygen were refined independently . All other hydrogen 20 claims cover all such ,equivalent therefore , intended that the appended
                                                                                                             variations as fall within the
 atoms were included in the refinement but restrained to ride
 on the atom to which they are bonded . The structure was trueWhat          spirit and scope of the invention .
                                                                                 is claimed :
 refined in full matrix least-squares by minimizing the func             1. A   3,4 - Diaminopyridine dimer that is
 tion :
                                                                     25
         Ew ( F , 2-1F.122
  The weight w is defined as 1/[o? (F.2) + (0.0984P )2+                         NH2
  (2.0030P) ], where P = ( F.2 + 2F 2)/3 .                                               NH2
     Scattering factors were taken from the “ International
  Tables for Crystallography,” (International Tables for Crys- 30                                    .NH2
  tallography , Vol. C , Kluwer Academic Publishers: Dor
  drecht, The Netherlands, 1992 , Tables 4.2.6.8 and 6.1.1.4 ).
  Of the 2838 reflections used in the refinements, only the
  reflections with F.2> 20 (F . ) were used in calculating the fit                                    NH
  residual, R. A total of 2355 reflections were used in the 35
  calculation . The final cycle of refinement included 264                or a tautomer thereof;
  variable parameters and converged (largest parameter shift               in the form of a salt, solvate , or complex , or a combination
  was < 0.01 times its estimated standard deviation ) with                   thereof.
  unweighted and weighted agreement factors of:                       2. The 3,4 -diaminopyridine dimer of claim 1 , wherein the
        R = E | F , -FI/EF . =0.0565                            40 salt comprises a sulfate group .
                                                                      3. The 3,4 -diaminopyridine dimer of claim 1, wherein the
        R = ( wF2-F22w (F29212 =0.1596                             complex comprises a monohydrate group .
     The standard deviation of an observation of unit weight          4. The 3,4 -diaminopyridine dimer of claim 1 , wherein the
 ( goodness of fit ) was 1.053 . The highest peak in the final 45 solvate    comprises a monomethanolate group .
 difference Fourierhad a height of 0.574 e/ Å3. The minimum comprises3,4a -sulfate
                                                                      5.  The      diaminopyridine dimer of claim 1 ,wherein salt
                                                                                         , the solvate comprises a monohydrate ,
 negative peak had a height of -0.282 e / Á                        and   the complex   comprises   a monomethanolate .
    Calculated X -Ray Powder Diffraction (XRPD ) Pattern             6.   The 3,4 -diaminopyridine   dimer of claim 1, wherein the
    FIG . 2 depicts a calculated XRPD pattern generated for
 Cu radiation using Mercury (Macrae , C. F. et al., J. Appl. 50 3,4    -diaminopyridine dimer is 3,4 -diaminopyridine dimer
 Cryst., 2006 , 39 , 453-457 ), and the atomic coordinates , sulfate        monohydrate monomethanolate .
                                                                      7. The dimer of claim 6 in amorphous solid form .
 space group , and unit cell parameters from the single crystal
  structure .
